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1


From: Chun, Ronald
Sent: Monday, May 20, 2019 8:09 AM
To: Barthel, Frederick (ORM) <Frederick.Barthel@va.gov>
Subject: RE: EEO Investigation - Statement Verification

I have reviewed the comments listed in RED, and find them to be correct statements.

Ronald P. Chun, MD


Sent with BlackBerry Work
(www.blackberry.com)

From: Barthel, Frederick (ORM) <Frederick.Barthel@va.gov>
Date: Wednesday, May 15, 2019, 1:22 PM
To: Chun, Ronald <Ronald.Chun@va.gov>
Subject: EEO Investigation - Statement Verification




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Kurt Barthel




                                                                       USA005746
